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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE
------------------------------------------------------------------------- x
                                                                          :
In re:                                                                    :   Chapter 11
                                                                          :
THE WEINSTEIN COMPANY HOLDINGS LLC, ET AL., :                                 Case No. 18-10601 (MFW)
                                                                          :
                  Debtors.1                                               :   (Jointly Administered)
                                                                          :
------------------------------------------------------------------------- x   Related to Docket No. 1717

ORDER (A) GRANTING MOTION TO SHORTEN NOTICE PERIOD WITH RESPECT
  TO FIRST REPUBLIC BANK’S MOTION FOR ORDER (I) VACATING DOCKET
 NUMBER 1574, (II) LIFTING STAY WITH RESPECT TO PRODUCING SERVICES
 AGREEMENT, AND (III) ENFORCING PRIOR ORDERS AND RULINGS AND (B)
                         SETTING HEARING DATE

        Upon the Motion to Set Expedited Hearing Date and Shorten Notice Period with Respect

to First Republic Bank’s Motion for Order (I) Vacating Docket Number 1574, (II) Lifting Stay

with Respect to Producing Services Agreement, and (III) Enforcing Prior Orders and Rulings

(the “Motion to Shorten”)2 requesting that the notice period for the Motion to Vacate be

shortened pursuant to section 105(a) of the Bankruptcy Code, Bankruptcy Rule 9006(c), and

Local Rule 9006-1(e); and it appearing that the relief requested in the Motion to Shorten is

appropriate in the circumstances; and this Court having jurisdiction over this matter pursuant to

28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference for the District of

Delaware, dated February 29, 2012; and this Court having found that this is a core proceeding

pursuant to 28 U.S.C. § 157(b)(2); and this Court being able to issue a final order consistent with


1
    The last four digits of The Weinstein Company Holdings LLC’s federal tax identification number are
    (3837). The mailing address for The Weinstein Company Holdings LLC is 99 Hudson Street, 4th Floor,
    New York, New York 10013. Due to the large number of debtors in these cases, which are being jointly
    administered for procedural purposes only, a complete list of the Debtors and the last four digits of their
    federal tax identification is not provided herein. A complete list of such information may be obtained on
    the website of the Debtors’ claims and noticing agent at http://dm.epiq11.com/twc.
2
     Capitalized terms used but not otherwise defined herein shall have the meanings given to them in the
     Motion to Shorten.
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Article III of the United States Constitution; and this Court having found that venue of this

proceeding and the Motion to Shorten in this District is proper before this Court pursuant to 28

U.S.C. §§ 1408 and 1409; and due and proper notice of the Motion to Shorten having been

provided under the particular circumstances, and it appearing that no other or further notice need

to be provided; and after due deliberation; and sufficient cause appearing therefor, it is hereby

               ORDERED, ADJUDGED, AND DECREED THAT:

       1.      The Motion to Shorten is GRANTED as set forth herein.

       2.      A hearing on the Motion to Vacate shall be held on November 29, 2018 at 11:30

a.m. (ET) (the “Hearing”).

       3.      Objections and other responses to the Motion to Vacate shall be made by no later

than November 27, 2018 at 4:00 p.m. (ET).

       4.      This Court shall retain jurisdiction with respect to all matters arising under or

related to this Order and to interpret, implement, and enforce the provisions of this Order.




       Dated: November 16th, 2018
       Wilmington, Delaware                            MARY F. WALRATH
                                                       UNITED STATES BANKRUPTCY JUDGE
